                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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                                                                                                  Oxygen Forensic® Detective - 11.6.2.100

4517                iMessage - Sent                                                                                      iMessage
  7

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time         4/9/2013 2:09:37 AM
                                                                                       +00:00):
        To:                     <                     >

        Remote party:                          <                  >

        Direction: Outgoing                               Read status: Read             Deleted: No

        Kroll seems to be the best bet but nobody does military records. As a backup just gather a copy of everyone's DD
        214. That's the form I showed you in your office that's on a special paper that can't be replicated. I'd be curious for
        you to look at his anyway to see if he was OSI like he claimed. You can have my official one to look at and make a
        copy of. It's a classified document which was stamped in the huge red letters so you'd have to keep it under lock
        and key or its a crime and I'd get my balls cut off.




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                                                                                                                20-32-M-DWM
